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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


                                                                   Chapter 11
In re:
                                                                   Case No. 22-11068 (JTD)
FTX Trading Ltd., et al., 1
                                                                   (Jointly Administered)
                    Debtors.


                     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS,
                     METHODOLOGY, AND DISCLAIMERS REGARDING THE
                      DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES
                         AND STATEMENTS OF FINANCIAL AFFAIRS

         FTX Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively, the
 “Debtors”), are filing their respective Schedules of Assets and Liabilities (each, a “Schedule” and,
 collectively with attachments, the “Schedules”) and Statements of Financial Affairs (each, a
 “Statement” and, collectively with attachments, the “Statements”) in the United States Bankruptcy
 Court for the District of Delaware (the “Court”) pursuant to section 521 of title 11 of the United
 States Code (the “Bankruptcy Code”) and rule 1007 of the Federal Rules of Bankruptcy Procedure
 (the “Bankruptcy Rules”).

         Ms. Mary Cilia has signed the Schedules and Statements on behalf of the Debtors. Ms.
 Cilia is the Chief Financial Officer of the Debtors. She has been authorized to execute the
 Schedules and Statements on behalf of the Debtors. In reviewing and signing the Schedules and
 Statements, Ms. Cilia necessarily has relied upon the efforts, statements and representations of the
 Debtors and the Debtors’ financial, legal and other agents and advisors (collectively, the
 “Advisors”). Ms. Cilia has not (and could not have) personally verified the accuracy of each
 statement and representation contained in the Schedules and Statements, including statements and
 representations concerning amounts or quantities owed to creditors, classification of such amounts
 and quantities and creditor addresses and contact information. Additionally, Ms. Cilia has not (and
 could not have) personally verified each amount, quantity or current value listed in each of the
 Schedules and Statements or the classification thereof.

         The Debtors prepared the Schedules and Statements with the assistance of their Advisors.
 The Schedules and Statements are unaudited and subject to potential adjustment, revisions and/or
 amendments, which may be material. In preparing the Schedules and Statements, the Debtors
 relied on financial data derived from their books and records that was available and accessible at

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         The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
         4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
         Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
         of such information may be obtained on the website of the Debtors’ claims and noticing agent at
         https://cases.ra.kroll.com/FTX.
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the time of preparation. As set forth in more detail below, the Debtors cannot confirm that the
information provided is complete and accurate, although the Debtors have made reasonable efforts
to ensure the accuracy and completeness of such financial information. Subsequent information
or discovery of additional information may result in material changes in financial and other data
contained in the Schedules and Statements and inadvertent or unintentional errors, omissions or
inaccuracies may exist. The Schedules and Statements are unaudited and remain subject to further
review and adjustment to reflect the Debtors’ ongoing reconciliation efforts. The amounts
reflected in these Statements and Schedules reflect the Debtors’ efforts to report values and
information as of the Petition Date (unless otherwise stated) through March 8, 2023. The Debtors’
investigations and reconciliations are ongoing and, as such, the results thereof may result in
revision, amendment, supplementation and/or adjustment of the Schedules and Statements.

        For the avoidance of doubt, the Debtors hereby reserve all of their rights, including to
revise, amend, supplement and/or adjust the Schedules and Statements.

        The Debtors and their Advisors do not guarantee or warrant the accuracy or completeness
of the data that is provided and shall not be liable for any loss or injury arising out of or caused in
whole or in part by the acts, errors, or omissions, whether negligent or otherwise, in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the information
contained herein and in the Schedules and Statements. While reasonable efforts have been made
to provide accurate and complete information herein, inadvertent errors or omissions may exist
and other limitations described below impacted the Debtors ability to do so in certain instances.
The Debtors and their Advisors expressly do not undertake any obligation to update, modify, revise
or re-categorize the information provided, or to notify any third party should the information be
updated, modified, revised or recategorized except as required by applicable law. In no event shall
the Debtors and their Advisors be liable to any third party for any direct, indirect, incidental,
consequential and/or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against any Debtor or damages to business reputation, lost
business or lost profits), whether foreseeable or not and however caused, even if the Debtors and/or
their Advisors are advised or notified of the possibility of such damages.

        Disclosure in one or more Schedules, one or more Statements, or one or more exhibits or
attachments to the Schedules or Statements, even if incorrectly placed, shall be deemed to be
disclosed in the correct Schedules, Statements, exhibits or attachments.

       These Global Notes and Statements of Limitations, Methodology and Disclaimers
Regarding the Debtors’ Schedules and Statements (collectively, the “Global Notes”) pertain to,
and are incorporated by reference in, and comprise an integral part of, all of the Schedules and
Statements. The Global Notes are in addition to the specific notes set forth below with respect to
the Schedules and Statements (the “Specific Notes” and, together with the Global Notes, the
“Notes”). These Notes should be referred to, and referenced in connection with, any review of the
Schedules and Statements.

       Background and Limitations

       As set forth in the Declaration of John J. Ray III in Support of Chapter 11 Petitions and
First Day Pleadings [D.I. 24] (the “Ray Declaration”), solely for purposes of presentation and
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organizational purposes, the Debtors and their businesses are categorized into four silos:
(a) Debtor West Realm Shires Inc. and its Debtor and non-Debtor subsidiaries (collectively, the
“WRS Silo”), (b) Debtor Alameda Research LLC and its Debtor subsidiaries (collectively, the
“Alameda Silo”), (c) Debtor Clifton Bay Investments LLC and certain of its Debtor affiliates
(collectively, the “Ventures Silo”) and (d) Debtor FTX Trading Ltd. and its Debtor and non-Debtor
subsidiaries (collectively, the “Dotcom Silo”).

        With respect to the Debtors’ books and records, as discussed in the Ray Declaration, the
circumstances surrounding the commencement of the Debtors’ Chapter 11 Cases were
extraordinary and have materially impacted the Debtors’ ability to access and marshal information
about their businesses. Prior to the commencement of the Debtors’ Chapter 11 Cases, the Debtors
operated, with other direct and indirect subsidiaries, on a global, decentralized and stand-alone
basis. There has been no indication that there was formal documentation of policies, procedures,
internal controls or other common management oversight tools utilized by companies of similar
size. There were no indications of the existence of utilized global financial accounting systems,
treasury systems, risk management systems, employment/benefits databases, global contract
databases or corporate secretarial systems commonly and critically maintained and utilized by
similarly large commercial enterprises with a global presence. Records were more commonly
decentralized and maintained on more individualized cloud-based data repositories shared in
smaller groups. Under this operating format, it was normal practice for the books and records to
be maintained by third party bookkeeping providers (the “Outsourcers”) and managed by the
respective local Debtor. Additionally, the financial reporting technology varied and was typically
owned or licensed by the Outsourcers. Supporting financial accounting, treasury and employment
records were not generally kept in a single repository and were often managed in numerous cloud
environments maintained by various individuals rather than on the more traditional server-based
electronic record repositories. The Debtors relied heavily on outsourced contractors to fill several
of its key accounting, finance, and treasury roles who also maintained their own data repositories
separate from the Debtors. This infrastructure has made it extraordinarily difficult and time-
consuming to gather, review, analyze and compile the data required to prepare the Debtors’
Schedules and Statements. These efforts are ongoing. After the commencement of these Chapter
11 Cases, a number of the Outsourcers stopped providing services to the Debtors. The Debtors
reserve all rights to revise, amend, supplement and/or adjust the Schedules and Statements.

        Moreover, a significant number of the Debtors’ employees and contractors resigned on or
around the Petition Date. The Debtors were significantly and adversely affected by the
discontinuation of services from the Outsourcers, the above-referenced proceedings and the
employee and contractor departures because they lost full and direct access to certain personnel, a
portion of their books and records, certain back office systems and document repositories. Since
the commencement of these Chapter 11 Cases, the Debtors’ advisors have been and continue to,
locate and reconstruct the Debtors’ books and records.

        The last close of the Debtors’ books in the normal course of business was performed for
limited entities in the WRS and Dotcom Silos in their respective jurisdictions as of September 30,
2022. In order to prepare the books and records for each of the Debtors as of the Petition Dates
(as defined below), the Debtors’ reengaged certain former employees and selectively re-contracted
certain Outsourcers. The Debtors and their Advisors have attempted to bring forward the
September 30, 2022 financial statements to November 30, 2022 and have used the November 30,
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2022 information prepared by Debtor employees, contractors and Outsourcers to roll back account
balances for each Debtor to the respective Petition Dates, considering known business activity and
transactions occurring from the Petition Dates through November 30, 2022. In doing so, the
Debtors were required to make certain estimates and assumptions, which are also reflected in the
information contained in the Schedules and Statements.

        With respect to the Alameda and Ventures Silos, the books and records were either
improperly maintained or not prepared by the Debtors prior to the Petition Date. Additionally, the
individuals previously responsible for the Debtors’ books and records of these two Silos are
currently unavailable to provide information either due to local proceedings, unwillingness to
engage with the Debtors’ current management or are under criminal guilty pleas or indictment
(e.g., Samuel Bankman-Fried, Caroline Ellison and Gary Wang). Therefore, the Debtors’ and their
Advisors developed processes and procedures to construct the information presented in the
Schedules and Statements as of the Petition Date based on currently available and accessible
information. The Debtors reserve the right to revise, amend, supplement and/or adjust the
Schedules and Statements.

        With respect to certain entities within the Dotcom Silo, the individuals previously
responsible for the Debtors’ books and records are currently unavailable to provide information
either due to local proceedings or unwillingness to engage with the Debtors’ current management.
Additionally, substantiating documentation for certain book balances and transactions was often
limited or unavailable. Therefore, the Debtors’ and their Advisors developed processes and
procedures to construct certain information presented in the Schedules and Statements as of the
Petition Date based on currently available and accessible information. The Debtors reserve the
right to revise, amend, supplement and/or adjust the Schedules and Statements.

       Additionally, on or around the time of the commencement of these Chapter 11 Cases, many
of the non-Debtor entities around the world became subject to various proceedings, in which
administrators or trustees were appointed by the applicable authorities to oversee, manage and
administer the affairs of those affiliates going forward. A summary of those proceedings is below.

FTX DM Joint Provisional Liquidation and Chapter 15 Recognition

       On November 10, 2022, the Securities Commission of The Bahamas filed a petition for
provisional liquidation of FTX Digital Markets Ltd. (“FTX DM”) with the Supreme Court of The
Bahamas (the “Bahamas Court”). On the same day, the Bahamas Court granted such petition and
appointed Brian C. Simms KC as provisional liquidator of FTX DM. On November 14, 2022, the
Bahamas Court appointed Kevin G. Cambridge and Peter Greaves of PricewaterhouseCoopers as
additional JPLs, to serve alongside Mr. Simms (collectively, the “JPLs”).

        On November 15, 2022, the JPLs filed a Chapter 15 petition for recognition of FTX DM’s
provisional liquidation proceeding as a foreign main proceeding in the United States under Chapter
15 of the U.S. Bankruptcy Code. On February 15, 2023, the Court entered an order granting the
JPL’s recognition petition. In re FTX Digital Markets Ltd., Case No. 22-11217 (JTD) (Bankr. D.
Del.) [D.I. 129].
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Bahamas Recognition Proceeding

        On February 8, 2023, Mr. Kurt Knipp filed a petition with the Bahamas Court seeking entry
of an order recognizing him as the foreign representative of the following Debtors in The Bahamas
with the right to act in The Bahamas on behalf of or in the name of each of such Debtors: (a) West
Realm Shires Inc., (b) West Realm Shires Services Inc., (c) Alameda Research LLC, (d) Alameda
Research Ltd., (e) Maclaurin Investments Ltd., (f) Clifton Bay Investments LLC and (g) FTX
Trading Ltd. On February 23, 2023, the Bahamas Court entered a Declaratory Order granting the
requested relief.

Australian Voluntary Administration Proceedings

       On November 11, 2022, Scott Langdon, Rahul Goyal and John Mouawad of KordaMentha
were appointed by the Board of Directors as joint and several voluntary administrators to FTX
Australia Pty Ltd and FTX Express Pty Ltd. The first meeting of creditors for these entities was
held on December 1, 2022. These proceedings are ongoing.

       Finally, substantial assets of the Debtors were transferred to Related Parties and insiders
which are included in these Schedules & Statements as receivable or transfers in their respective
sections. The Debtors have located documentation related to some of these transfers but many
appear to have been undocumented. The Debtors are undertaking a process to locate and recover
these assets. The Debtors reserve the right to revise, amend, supplement and/or adjust the
Schedules and Statements
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                             Global Notes and Overview of Methodology

        The Schedules, Statements and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events or performance of any
of the Debtors, including, but not limited to, any potential recoveries or distributions related
to claims against the Debtors.

        1.       Description of the Cases. On November 11, 2022 and November 14, 2022 (as
                 applicable, the “Petition Date”), 2 the Debtors filed with the Court voluntary
                 petitions for relief under chapter 11 of the United States Bankruptcy Code. The
                 cases (the “Chapter 11 Cases”) are pending before the Honorable John T. Dorsey,
                 and are jointly administered for procedural purposes only under the lead case
                 captioned In re FTX Trading Ltd., et al., Case No. 22-11068 (JTD) (Bankr. D. Del.).
                 On February 13, 2023, the Court entered an order dismissing the chapter 11 cases
                 of FTX Turkey Teknoloji Ticaret Anonim Sirketi and SNG Investments Yatirim ve
                 Danismanlik Anonim Sirketi [D.I. 711].

        2.       Basis of Presentation. For financial reporting purposes, most of the Debtors
                 prepared financial statements on a legal entity basis. While consistent with their
                 historical practice for most Debtor entities, several of the entities within the
                 Alameda Silo maintained only one set of combined books. The Schedules and
                 Statements are unaudited and reflect the Debtors’ reasonable efforts to report
                 certain financial information of each Debtor on a stand-alone basis. These
                 Schedules and Statements do not purport to and do not represent financial
                 statements prepared in accordance with Generally Accepted Accounting Principles
                 in the United States (“GAAP”). The Debtors used what they believe to be a
                 reasonable basis to attribute assets and liabilities to each Debtor entity. However,
                 because the Debtors’ accounting systems, policies, and practices were limited and
                 maintained inconsistently by legal entity, or not at all, it is possible that not all
                 assets, liabilities, or operational activity have been recorded, or were not recorded
                 with the correct legal entity on the Schedules and Statements. Accordingly, the
                 Debtors reserve all rights to revise, amend, supplement and/or adjust the Schedules
                 and Statements, including with respect to reallocation of assets or liabilities to any
                 Debtor entity.

        3.       Reporting Date. Unless otherwise noted on the specific responses, the Statements
                 and the liabilities reflected on the Schedules generally reflect the Debtors’ books
                 and records as of the Petition Date except as may have been adjusted for authorized
                 payments made under the First Day Orders (as defined below). The cash and other
                 assets listed on the Schedules are as of the Petition Date unless otherwise stated,
                 and have not been adjusted for authorized payments made under the First Day
                 Orders. As set forth herein, amounts ultimately realized may vary from whatever
                 value was ascribed and such variance may be material. Accordingly, the Debtors
                 reserve all of their rights to revise, amend, supplement and/or adjust the values set

2
    November 11, 2022 is the petition date for all Debtors, except for West Realm Shires Inc.
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     forth in the Statements and the assets and liabilities reflected on the Schedules. In
     addition, the amounts shown for total liabilities exclude items identified as
     “unknown,” “disputed,” “contingent,” “unliquidated,” “undetermined” and “N/A”
     and, thus, ultimate liabilities may differ materially from those stated in the
     Schedules and Statements.

4.   Allocation of Liabilities.    The Debtors, in consultation with their Advisors,
     have sought to allocate liabilities between prepetition and postpetition periods
     based on the information and research that was conducted in connection with the
     preparation of the Schedules and Statements. As additional information becomes
     available and further research is conducted, the allocation of liabilities between
     prepetition and postpetition may change. The Debtors reserve the rights to revise,
     amend, supplement and/or adjust the Schedules and Statements.

5.   Duplication. Certain of the Debtors’ assets, liabilities and prepetition payments
     may properly be disclosed in response to multiple parts of the Schedules and
     Statements. Except as otherwise discussed below, to the extent these disclosures
     would be duplicative, the Debtors have made best efforts to only list such assets,
     liabilities and prepetition payments once.

6.   Entity Accounts Payable and Disbursement Systems. As described in the
     Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
     Debtors to (A) Operate a Post-petition Cash Management System, (B) Maintain
     Existing Business Forms, and (C) Perform Intercompany Transactions,
     (II) Granting a Partial Waiver of the Deposit Guidelines Set Forth in Section
     345(B), and (III) Granting Certain Related Relief, [D.I. 47], prior to the
     commencement of the Chapter 11 Cases, the Debtors utilize a decentralized cash
     management system. Prior to the commencement of these Chapter 11 Cases, each
     Debtor generally maintained individual bank and payment service accounts to
     collect, transfer and distribute funds in the ordinary course of business. The
     Debtors maintained approximately 400 known bank and payment service accounts.
     The Debtors have been taking the necessary efforts to obtain access to, and regain
     control of, each of these known bank and payment service accounts and these
     efforts remain ongoing. Payment service account providers do not always provide
     information reporting consistent with reporting expected from a traditional
     financial institution, which creates limitations and challenges in preparation of the
     Schedules and Statements. There is a significant volume of transactions and
     currency that occurred within the Debtors’ accounts on a daily basis with both third
     parties and between accounts held by affiliates. While the Debtors have taken
     reasonable measures to obtain the information necessary to compile the Schedules
     and Statements, there is a risk that this information is inaccurate or incomplete.
     Additionally, although efforts have been made to attribute open payable amounts
     to the correct Debtor entity, the Debtors reserve the right to revise, amend,
     supplement and/or adjust their Schedules and Statements, including to attribute
     such payment to a different Debtor entity.
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7.   Accuracy. As discussed in the Ray Declaration, the deficiencies with the Debtors’
     record keeping and reporting have been well documented. The financial
     information disclosed in the Schedules and Statements was not prepared in
     accordance with federal or state securities laws or other applicable non-bankruptcy
     law or in lieu of complying with any periodic reporting requirements thereunder.
     Persons and entities trading in or otherwise purchasing, selling, or transferring any
     claims against or equity interests in the Debtors should evaluate this financial
     information in light of the purposes for which it was prepared and should not rely
     upon such information for such or any other purposes. The Debtors are not liable
     for and undertake no responsibility to indicate variations from securities laws or for
     any evaluations of the Debtors based on this financial information or any other
     information.

8.   Valuation Generally. In certain instances, current market valuations are not
     maintained by or readily available to the Debtors. Moreover, it would be
     prohibitively expensive, unduly burdensome, and an inefficient use of estate assets
     for the Debtors to obtain current market valuations of all of their assets solely for
     purposes of the Schedules and Statements. Accordingly, unless otherwise stated,
     net book values as of the Petition Date are presented. When necessary, the Debtors
     have indicated that the value of certain assets is “unknown” or “undetermined.”
     Amounts ultimately realized may vary materially from net book value (or spot
     value or other value so ascribed). Accordingly, the Debtors reserve all rights to
     revise, amend, supplement and/or adjust the asset values set forth in the Schedules
     and Statements. The omission of an asset from the Schedules and Statements does
     not constitute a representation regarding the ownership of such asset, and any such
     omission does not constitute a waiver of any rights of the Debtors with respect to
     such asset.

     As noted herein, the Debtors are currently marketing certain assets for sale pursuant
     to those certain Court-approved bidding procedures. See Order (A) Approving Bid
     Procedures, Stalking Horse Procedures and the Form and Manner of Notices for
     the Sale of Certain Businesses, (B) Approving Assumption and Assignment
     Procedures and (C) Scheduling Auction(s) and Sale Hearing(s) [D.I.487] and
     Order (I) Authorizing and Approving Procedures for the Sale or Transfer of
     Certain De Minimis Assets and Fund Assets and (II) Approving Assumption,
     Assignment and Rejection Procedures and (III) Granting Related Relief [D.I. 702].
     Accordingly, the current or fair value of those assets may be determined in
     connection with the sales processes. As noted herein, amounts ultimately realized
     from the sale process may vary materially from net book value.

9.   Valuation of Cryptocurrency. Cryptocurrency amounts are generally listed per
     token rather than a conversion to price in U.S. dollars. To the extent cryptocurrency
     values are presented in U.S. dollars, they reflect the valuation as set forth in the
     Debtors’ books and records as of the Petition Date or the time of the relevant
     transaction, as applicable, or such other pricing as set forth in these Notes. Actual
     net realizable value may vary significantly. The Debtors reserve all rights to revise,
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      amend, supplement and/or adjust such values presented in the Schedules and
      Statements.

10.   Paid Claims. Pursuant to the “first day” and “second day” orders of the Court
      entered in the Chapter 11 Cases (collectively, the “First Day Orders”) as well as
      other orders of the Court, the Debtors have authorization to pay certain outstanding
      prepetition claims. As such, outstanding liabilities have been reduced by any court-
      approved postpetition payments made on prepetition payables. Where and to the
      extent these liabilities have been satisfied, they are not listed in the Schedules and
      Statements, unless otherwise indicated. Regardless of whether such claims are
      listed in the Schedules and Statements, to the extent the Debtors later pay any
      amount of the claims listed in the Schedules and Statements pursuant to any orders
      entered by the Court, the Debtors reserve all rights to revise, amend, supplement
      and/or adjust the Schedules and Statements or take other action, such as filing
      claims objections, as is necessary and appropriate to avoid overpayment or
      duplicate payments for liabilities. Nothing herein should be deemed to alter the
      rights of any party-in-interest to contest a payment made pursuant to an order of the
      Court where such order preserves the right to contest such payment.

11.   Undetermined Amounts. Claim amounts that could not readily be quantified by
      the Debtors are scheduled as “unliquidated”, “undetermined”, “unknown” or
      “N/A.” The description of an amount as “unliquidated”, “undetermined”,
      “unknown” or “N/A” is not intended to reflect upon the materiality or allowance
      of, or distribution with respect to the amount.

12.   Guarantees and Other Secondary Liability Claims. The Debtors exercised their
      reasonable efforts to locate and identify guarantees and other secondary liability
      claims (collectively, the “Guarantees”) in their executory contracts, unexpired
      leases and other such agreements. Where such Guarantees have been identified,
      they are included in the relevant Schedules and Statements. Guarantees embedded
      in the Debtors’ executory contracts, unexpired leases and other agreements may
      have been omitted inadvertently. The Debtors reserve their right to revise, amend,
      supplement and/or adjust the Schedules and Statements to the extent that additional
      Guarantees are identified. In addition, the Debtors reserve the right to amend the
      Schedules and Statements to re-characterize and reclassify any such contract or
      claim.

13.   Excluded Liabilities and Assets. The Debtors believe that they have identified,
      but did not necessarily value, all material categories of assets and liabilities in the
      Schedules. As set forth in note 16 below, the Debtors have excluded intercompany
      assets and liabilities from the Schedules and Statements. Additionally, certain
      immaterial or de minimis liabilities and assets may have been excluded. Finally,
      the Debtors have also excluded from the Schedules and Statements cryptocurrency
      that was not in the Debtors’ possession or controlled by the Debtors as of the
      Petition Date and any unauthorized transfers, gains or losses or other adjustments
      of cryptocurrencies that occurred either before or after the Petition Date. The
      Debtors reserve all rights with respect to such cryptocurrency.
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14.   Cryptocurrency. Certain of the Debtors’ assets are cryptocurrencies or digital
      tokens based on a publicly accessible blockchain. Cryptocurrencies are unique
      assets. Certain laws and regulations that may be applicable to cryptocurrencies do
      not contemplate or address unique issues associated with the cryptocurrency
      economy, are subject to significant uncertainty, and vary widely across U.S.
      federal, state, and local and international jurisdictions. The Debtors make no
      representations or admissions concerning the status of cryptocurrency as a
      “security” under any state, federal, or local domestic or international statute,
      including United States federal securities laws, and reserve all rights with respect
      to such issues and all rights to revise, amend, supplement and/or adjust the
      Schedules and Statements.

15.   Customers. In order to preserve the confidentiality of customer identities and in
      compliance with the Final Order (I) Authorizing the Debtors to Maintain a
      Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for Each
      Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential
      Information of Customers and Personal Information of Individuals and
      (III) Granting Certain Related Relief [D.I. 545] (the “Redaction Order”), customers
      have been scheduled utilizing an unique, individualized customer identification
      number (each, a “Customer Code”) assigned to each applicable customer by the
      Debtors. The Customer Code is not the same as the customer account number of
      such customer that existed prior to the filing of these Chapter 11 Cases. The
      Debtors will provide notice of a customer’s Customer Code by email to the email
      on file for such customer.

16.   Insiders. For purposes of the Schedules and Statements, the Debtors defined
      “insiders” pursuant to section 101(31) of the Bankruptcy Code as: (a) directors;
      (b) officers; (c) persons in control of the Debtors; (d) relatives of the Debtors’
      directors, officers or persons in control of the Debtors and (e) debtor/non-debtor
      affiliates of the foregoing. Additionally, an entity may be designated as an “insider”
      for the purposes of the Schedules and Statements if such entity, based on the totality
      of the circumstances, has a close relationship with any of the Debtors and a lack of
      arm’s length dealings. Certain of the individuals or entities may not have been
      insiders for the entirety of the 12-month period before the Petition Date, but the
      Debtors have included them herein out of an abundance of caution. Entities or
      persons listed as “insiders” have been included for informational purposes only,
      and the inclusion or omission of them in the Schedules and Statements shall not
      constitute an admission that those persons are or are not “insiders” for purposes of
      section 101(31) of the Bankruptcy Code. The rights of the Debtors and other third
      parties with respect to any determinations of “insiders” are reserved.

      Information regarding the individuals or entities listed as insiders in the Schedules
      and Statements may not be used for: (a) the purposes of determining (i) control of
      the Debtors; (ii) the extent to which any individual or entity exercised management
      responsibilities or functions; (iii) corporate decision-making authority over the
      Debtors; or (iv) whether such individual or entity could successfully argue that it is
      not an insider under applicable law, including the Bankruptcy Code and federal
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      securities laws, or with respect to any theories of liability or (b) any other purpose.
      Furthermore, the listing or omission of a party as an insider for purposes of the
      Schedules and Statements is not intended to be, nor should it be, construed an
      admission of any fact, right, claim, or defense, and all such rights, claims, and
      defenses are hereby expressly reserved.

      The process to identify insiders and related payments remain ongoing, and the
      Debtors reserve all rights to revise, amend, supplement and/or adjust the Schedules
      and Statements.

17.   Intercompany Balances. The Schedules do not include a reporting of
      intercompany or certain affiliate balances. The process to reconcile and validate
      all intercompany balances among the Debtors or between Debtors and certain of its
      affiliates is ongoing and is incomplete and, as such, the Debtors are not in a position
      currently to report such balances. The volume and magnitude of intercompany and
      affiliate transactions in both digital and fiat assets are significant and pervasive
      throughout the Debtors’ and their affiliates’ accounts. Identification of these
      transactions is complex for numerous reasons including agent relationships or
      improper labeling of transactions or accounts, and the efforts to initially identify
      and verify those transactions are ongoing. The Debtors expect that the
      intercompany and affiliate balances will materially impact and change the reported
      assets and liabilities of many of the Debtors and the related recoveries of claims
      against such Debtors. The Debtors reserve all rights, claims and defenses in
      connection with any and all intercompany and affiliate receivables and payables,
      including with respect to the characterization of intercompany and affiliate claims,
      loans and notes.

18.   Totals. All totals that are included in the Schedules and Statements represent totals
      of all the known amounts. Amounts marked as “unknown”, “undetermined” or
      “N/A” are not included in the calculations of the totals. To the extent there are
      unknown disputed, contingent, unliquidated or otherwise undetermined amounts,
      the actual total may differ materially from those stated in the Schedules and
      Statements.

19.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
      unless otherwise indicated. Foreign currency amounts have been translated to U.S.
      Dollar equivalents using published exchange rates at the relevant date or for the
      relevant period.

20.   Setoffs. The Debtors may incur certain setoffs and other similar rights during the
      ordinary course of business. Offsets in the ordinary course can result from various
      items, including, without limitation, margin call or other lending-related
      transaction, intercompany transactions, pricing discrepancies, returns and other
      disputes between the Debtors and their account holders and/or suppliers. These
      offsets and other similar rights are consistent with the ordinary course of business
      in the Debtors’ industry and may not be tracked separately. Therefore, although
      such offsets and other similar rights may be included in the Schedules, other offsets
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      are not independently accounted for, and as such, may be excluded from the
      Schedules. The Debtors reserve all rights with respect to setoffs and offsets.

21.   Causes of Action. Despite their reasonable efforts to identify all known assets, the
      Debtors may not have listed all of their claims, causes of action, potential claims or
      potential causes of action against third parties as assets in their Schedules and
      Statements, including, but not limited to, preferences and avoidance actions arising
      under chapter 5 of the Bankruptcy Code and actions under other relevant non-
      bankruptcy laws to recover assets, controversy, right of setoff, cross claim,
      counterclaim, or recoupment and any claim on contracts or for breaches of duties
      imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
      obligation, liability, damage, judgment, account, defense, power, privilege, license,
      and franchise of any kind or character whatsoever, known, unknown, fixed or
      contingent, matured or unmatured, suspected or unsuspected, liquidated or
      unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
      derivatively, whether arising before, on, or after the Petition Date, in contract or in
      tort, in law or in equity, or pursuant to any other theory of law. The Debtors’
      investigation efforts remain ongoing. The Debtors reserve all of their rights with
      respect to any claims, causes of action, preference or avoidance actions they may
      have, and neither these Notes nor the Schedules and Statements shall be deemed a
      waiver of any such claims, causes of actions, preference or avoidance actions or in
      any way prejudice or impair the assertion of such claims, or in any way act as an
      admission of any fact or liability or the character thereof. Additionally, prior to the
      Petition Date, each Debtor, as plaintiff, may have commenced various lawsuits in
      the ordinary course of its business against third parties seeking monetary damages.

22.   Credits and Adjustments. The claims of individual creditors for, among other
      things, goods, products, services or taxes are listed as the amounts entered on the
      Debtors’ books and records and may not reflect credits, allowances or other
      adjustments due from such creditors to the Debtors. The Debtors reserve all of their
      rights with regard to such credits, allowances and other adjustments, including the
      right to assert claims objections and/or setoffs with respect to the same, or apply
      such allowances in the ordinary course of business on a postpetition basis.

23.   Solvency. Given the exclusion of intercompany balances and the uncertainty
      surrounding the collection, valuation and ownership of certain assets, including,
      among other things, net operating losses or other tax attributes, and the valuation
      and nature of certain liabilities, to the extent that a Debtor shows more assets than
      liabilities, nothing in the Schedules or Statement shall constitute an admission that
      the Debtors were solvent as of the Petition Date or at any time before the Petition
      Date. Likewise, to the extent a Debtor shows more liabilities than assets, nothing
      in the Schedules or Statement shall constitute an admission that such Debtor was
      insolvent as of the Petition Date or at any time before the Petition Date. For the
      avoidance of doubt, nothing contained in the Schedules and Statements is indicative
      of the Debtors’ enterprise value or solvency. The Debtors reserve all rights with
      respect to these issues.
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24.   Liens. Property and equipment listed in the Schedules and Statements are
      presented without consideration of any liens that may attach (or have attached) to
      such property and equipment.

25.   Leases of Equipment and Other Assets. In the ordinary course of their business,
      the Debtors lease equipment and other assets from certain third-party lessors for
      use in the daily operation of their businesses. The Debtors have made commercially
      reasonable efforts to list any such leases in Schedule G. Except as otherwise noted
      herein, the property subject to any such leases is not reflected in Schedule A/B as
      either owned property or assets of the Debtors, and neither is such property or assets
      of third parties within the control of the Debtors. Nothing in the Schedules is or
      shall be construed as an admission or determination as to the legal status of any
      lease (including whether any lease is a true lease or a financing arrangement), and
      the Debtors reserve all rights with respect to any of such issues, including the
      recharacterization thereof.

26.   Confidential, Sensitive or Personally Identifiable Information. There may be
      instances in which certain information in the Schedules and Statements
      intentionally has been redacted due to, among other things, the nature of an
      agreement between a Debtor and a third party, local restrictions on disclosure,
      concerns about the confidential or commercially sensitive nature of certain
      information, or concerns for the privacy of an individual. Additionally, pursuant to
      the Redaction Order, the Debtors have redacted certain customer and personally
      identifiable information contained in the Schedules and Statements. Payments
      made to individuals and certain other instances where personally identifiable
      information could otherwise be disclosed have been reported without disclosing
      personally identifiable information. All such redacted information shall be made
      available in accordance with the terms of the Redaction Order.

27.   Reservation of Rights. As noted above, reasonable efforts have been made to
      prepare and file complete and accurate Schedules and Statements, however,
      inadvertent errors or omissions may exist. The Debtors reserve all rights to revise,
      amend, supplement and/or adjust the Schedules and Statements from time to time
      in all respects. The Debtors reserve all rights with respect to issues involving or
      defenses against claims, substantive consolidation, defenses, statutory or equitable
      subordination, and/or causes of action arising under the Bankruptcy Code and any
      other relevant non-bankruptcy laws to recover assets or avoid transfers. Any
      specific reservation of rights contained elsewhere in the Notes does not limit in any
      respect the general reservation of rights contained in this paragraph.

      Nothing contained in the Schedules, Statements or Notes shall constitute a waiver
      of rights with respect to these Chapter 11 Cases, including, but not limited to, the
      following:

      a)     Any failure to designate a claim listed on the Debtors’ Schedules and
             Statements as a) “disputed,” b) “contingent,” or c) “unliquidated” does not
             constitute an admission by the Debtors that such amount is not “disputed,”
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      “contingent,” or “unliquidated” or a waiver of any right to later object to
      any claim on any grounds. The Debtors reserve the right to dispute and to
      assert setoff rights, offsets, counterclaims, and defenses to any claim
      reflected on the Schedules as to amount, liability, and classification, and to
      otherwise subsequently designate any claim as “disputed,” “contingent,” or
      “unliquidated.” Moreover, listing a claim does not constitute an admission
      of liability by the Debtors against which the claim is listed or by any of the
      Debtors. The Debtors reserve all rights to object to the extent, validity,
      enforceability, priority or avoidability of any claim (regardless of whether
      such claim is designated in the Schedules and Statements as “disputed,”
      “contingent,” or “unliquidated”). The Debtors reserve all rights to seek
      disallowance of any claim, including pursuant to section 502(d) of the
      Bankruptcy Code where an entity from which property is recoverable under
      section 542, 543, 550 or 553 of the Bankruptcy Code unless such entity has
      paid the amount or turned over such property to the Debtors. The Debtors
      reserve all rights to revise, amend, supplement and/or adjust their Schedules
      and Statements, including with respect to claim amounts, description,
      classification and designation.

b)    Nothing contained in the Schedules and Statements is intended or should be
      construed as an admission or stipulation of the validity or allowance of any
      claim against the Debtors, any assertion made therein or herein, or a waiver
      of the right to dispute the allowance of, or any distributions in connection
      with, any claim or assert any cause of action or defense against any party.

c)    Notwithstanding that the Debtors have made reasonable efforts to correctly
      characterize, classify, categorize or designate certain claims, assets,
      executory contracts, unexpired leases and other items reported in the
      Schedules and Statements, the Debtors nonetheless may have improperly
      characterized, classified, categorized or designated certain items. The
      Debtors reserve all rights to recharacterize, reclassify, recategorize or
      redesignate items reported in the Schedules and Statements.

d)    Information requested by the Schedules and Statements requires the
      Debtors to make a judgment regarding the appropriate category in which
      information should be presented or how certain parties, claims or other data
      should be labeled. The Debtors’ decisions regarding the category or label
      to use is based on the best information available as of the preparation of
      these Schedules and Statements. The Debtors reserve all rights to revise,
      amend, supplement and/or adjust the Schedules and Statements, including
      to the extent some information currently presented should be moved to a
      different category or labeled in a different way.

e)    The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F
      (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as “unsecured” or
      (iv) listing a contract or lease on Schedule G as “executory” or “unexpired”
      does not constitute an admission by the Debtors of the legal rights of the
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             claimant or counterparty, or a waiver of the Debtors’ rights to object to such
             claim or recharacterize or reclassify such claim, contract or lease, or a
             waiver of the Debtors’ rights to setoff such claims. The Debtors reserve all
             rights to revise, amend, supplement and/or adjust the Schedules and
             Statements in this regard and reserve all rights to assert that any contract
             listed on the Debtors’ Schedules and Statements does not constitute an
             executory contract within the meaning of section 365 of the Bankruptcy
             Code, and the right to assert that any lease so listed does not constitute an
             unexpired lease within the meaning of section 365 of the Bankruptcy Code.

      f)     The Debtors reserve all of their rights, claims and causes of action with
             respect to the contracts and agreements listed on the Schedules and
             Statements, including, but not limited to, the right to dispute and challenge
             the characterization or the structure of any transaction, document and
             instrument related to a creditor’s claim.

      g)     Exclusion of certain intellectual property should not be construed to be an
             admission that such intellectual property rights have been abandoned, have
             been terminated or otherwise expired by their terms, or have been assigned
             or otherwise transferred pursuant to a sale, acquisition, or other transaction.
             Conversely, inclusion of certain intellectual property should not be
             construed to be an admission that such intellectual property rights have not
             been abandoned, have not been terminated or otherwise expired by their
             terms, or have not been assigned or otherwise transferred pursuant to a sale,
             acquisition, or other transaction.

28.   Global Notes Control. In the event that the Schedules or Statements differ from
      any of the foregoing Global Notes, the Global Notes shall control.

           Specific Notes with Respect to the Debtors’ Schedules

29.   Schedule A/B, Part 1 – Cash and Cash Equivalents. The reported bank balances
      (including investments and overnight accounts) and cash on hand include cash held
      in various currencies, converted into U.S. dollars as of the Petition Date. The
      Debtors have attempted to independently verify the cash balances as of the Petition
      Date. Where the Debtors and their Advisors have not been able to access an
      account, book balances are reported. Additionally, the Debtors continue to
      investigate, identify and recover additional cash assets as new information becomes
      available.

30.   Schedule A/B, Part 2 – Deposits and Prepayments. Deposits and prepayments
      includes certain prepayments related to various advertising and sponsorship
      agreements, security deposits, retainers and other miscellaneous deposits and
      prepayments, which have been presented in AB7 at the net unamortized value as of
      the Petition Date. The Debtors have made reasonable efforts to identify all deposits
      and prepayments, but the lack of detailed historical amortization information has
      resulted in a presentation of the net unamortized value as a lump sum amount rather
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      than by individual asset. Efforts continue to segregate the books and records
      balances by individual asset. Additionally, the Schedules may not reflect an
      exhaustive list of all deposits and prepayments. The amounts listed in response to
      AB7 include deposits by Debtors that may have been offset and withdrawn
      postpetition by the counterparty. In addition, certain retainers or deposits reflect
      payments to professionals made by a certain Debtor entity that may be subject to
      applicable allocation amongst the Debtors. Finally, the amount ultimately
      recovered on such deposits and prepayments may vary materially from the amounts
      reported herein. The Debtors reserve their rights, but are not required, to amend
      the Schedules and Statements.

31.   Schedule A/B Part 3 Question 11. The Debtors are in the process of evaluating
      their receivables including the collectability of such receivables. All receivables
      are reported in response to Question 11b (over 90 days old) notwithstanding that
      certain of such receivables may have been less than 90 days old at the Petition Date.
      Receivables have been reported at net book value which includes allowance for
      doubtful accounts. The Debtors did not perform a full assessment of the
      collectability of receivables in conjunction with the preparation of the Schedules.
      Therefore, the amount ultimately recovered may vary materially from the amount
      reported herein.

32.   Schedule A/B Part 4 - Investments. Investments in consolidated subsidiaries have
      been listed with an undetermined value. The Debtors do not believe that any book
      value is indicative of the value of such assets and have not obtained a fair market
      valuation of the assets. Other investments have been reported at the funded amount
      or recorded cost per books and records, which may be materially different from the
      current fair market value of the investment.

33.   Schedule A/B Part 7 – Office furniture, fixtures and equipment; and
      collectibles. Office furniture, fixtures and equipment have been reported at the net
      book value, which may materially differ from the current fair market of the related
      assets.

34.   Schedule A/B, Part 9 – Real Property. Real property consists primarily of
      properties purchased in the Bahamas and leasehold improvements on various leased
      facilities, including on any leases that may have been rejected or mutually
      terminated after the Petition Date. Properties owned in the Bahamas and leasehold
      improvements have been reported in the Schedules at the Net Book Value, which
      may materially differ from the current market value of the properties.

35.   Schedule A/B, Part 10 – Intangibles and Intellectual Property. The value of
      intangibles and intellectual property has been listed as undetermined, with a
      notational comment that includes the existing book value of such intangibles and
      intellectual property. The Debtors do not believe that the book value of the
      intangibles and intellectual property is indicative of the current fair market value of
      such assets and have included the book value amounts solely for informational
      purposes as no valuation for impairment has been performed at this time.
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      The Debtors may have excluded certain intellectual property. Exclusion of certain
      intellectual property shall not be construed to be an admission that such intellectual
      property rights have been abandoned, have been terminated, or otherwise have
      expired by their terms, or have been assigned or otherwise transferred pursuant to
      a sale, acquisition, or other transaction. Conversely, inclusion of certain intellectual
      property shall not be construed to be an admission that such intellectual property
      rights have not been abandoned, have not been terminated, or otherwise have not
      expired by their terms, or have not been assigned or otherwise transferred pursuant
      to a sale, acquisition, or other transaction.

36.   Schedule A/B, Part 11, Question 71 – Notes Receivable. Notes Receivable
      include transfers of fiat cash to both insiders and external third parties. The Debtors
      and their Advisors have reviewed loan contracts and recorded loan amounts at the
      contractually stated amount, adjusted for accrued interest and payments. Where
      undocumented transfers of cash to insiders were identified these were classified as
      notes receivable with no accrued interest. The collectible amount of Notes
      Receivable is currently undetermined. Notes Receivable does not include any
      transfers of cryptocurrencies or digital assets.

37.   Schedule A/B, Part 11, Question 72 – Tax Refunds and Unused Net Operating
      Losses (NOLs). Refunds represent dollar-for-dollar claims made with taxing
      authorities to return previous overpayments of tax. Unused NOLs may be available
      to offset Debtor taxable income for the period ended December 31, 2022 and
      forward. Unused NOLs are presented on an individual Debtor basis for U.S.
      Federal income tax purposes. Due to the complexities of certain U.S. state and
      local net operating loss rules for combined/unitary groups, these amounts are
      disclosed at the filing entity level. These disclosures were compiled based on
      information made available to the Debtors and their advisors at the time of this
      filing. The Debtors and their Advisors continue to review the underlying filing
      positions to confirm accuracy, and reserve the right to revise, amend, supplement
      and/or adjust the Schedules and Statements.

38.   Schedule A/B, Part 11, Question 73 – Insurance Policies. The insurance policies
      listed in response to question 73 are listed only for the Debtor entities that are
      identified as named insureds on the respective policies and are not listed in response
      to question 73 for any other Debtor entities that may fall within the respective
      definitions of insured entities under such policies.

39.   Schedule A/B, Part 11, Question 77 – Crypto Holdings & Collateral Assets.
      Crypto assets are listed herein by their trading symbol and include the quantity held
      as of the Petition Date. Where USD Spot Price Value is listed, the amounts were
      derived by multiplying the quantity of tokens held with the spot price as of the
      Petition Date based on preliminary information publicly available from
      CoinMarketCap (www.coinmarketcap.com). If spot pricing was unavailable as of
      the Petition Date at CoinMarketCap, the Debtors have reported the asset as Value
      Unknown. The current value of the crypto assets is undetermined and could vary
      significantly from any valuation as of the Petition Date. Additionally, all Crypto
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      Holdings are presumed to be held by an individual Debtor within each Silo. The
      Debtors reserve all rights to revise, amend, supplement and/or adjust any reported
      pricing in the Schedules and Statements.

40.   Schedule A/B, Part 11, Question 77 – Tokens Receivables. The Debtors are
      contractual counterparties to agreements in which certain tokens are delivered as
      part of a vesting schedule. For the purposes of listing the quantities of tokens
      receivable as of the Petition Date, the Debtors assumed that all tokens due prior to
      the Petition Date were delivered, but efforts to verify those assumptions are ongoing
      and could materially impact the amounts reported herein. The Debtors have listed
      the counterparty, related token and quantity of tokens that were scheduled to be
      received after the Petition Date. Where spot prices were readily available as of the
      Petition Date from CoinMarketCap, an USD Spot Price Receivable Amount was
      calculated and provided herein by multiplying the quantity of tokens due as of the
      Petition Date with the spot price as of the Petition Date based on preliminary
      information publicly available from CoinMarketCap (www.coinmarketcap.com).
      If spot pricing was unavailable as of the Petition Date at CoinMarketCap, the
      Debtors have reported the Funded Amount for the tokens. Contracts that include
      token warrants do not have a quantifiable amount of tokens due as of the Petition
      Date and have been reported at the Funded Amount. The current value of the
      tokens receivable are undetermined and could vary significantly from any valuation
      as of the Petition Date or the funded amounts for such assets. The Debtors reserve
      all rights to revise, amend, supplement and/or adjust Token Receivables in the
      Schedules and Statements.

41.   Schedule A/B, Part 11, Question 77 – Fund Investments. Fund investments have
      been reported at the funded amount or recorded cost per books and records, which
      may be materially different from the current fair market value of the investment.

42.   Schedule D. The Debtors have not included parties that may believe their claims
      are secured through setoff rights, inchoate statutory lien rights, or other lien rights
      created by the laws of the various jurisdictions in which the Debtors operate. The
      amounts outstanding under the Debtors’ prepetition secured debt reflect
      approximate amounts as of the Petition Date to the extent known. Descriptions
      provided on Schedule D are intended only to be a summary. Reference to the
      applicable loan agreements and related documents is necessary for a complete
      description of the collateral and the nature, extent, and priority of any liens. The
      Debtors reserve all rights to dispute or otherwise assert offsets, defenses or
      avoidance claims to any claim reflected on the Schedule D as to amount, liability,
      classification, or identity of a Debtor, or to otherwise subsequently designate any
      claim as “disputed,” “contingent,” or “unliquidated.” The Debtors dispute some or
      all of the liens and collateral purportedly supporting any claim reflected on
      Schedule D, and reserve all rights to void or avoid any such liens or collateral, as
      appropriate.

      Except as otherwise agreed pursuant to a stipulation or agreed order or general order
      entered by the Bankruptcy Court, the Debtors reserve the right to dispute or
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      challenge the validity, perfection or immunity from avoidance of any lien purported
      to be granted or perfected in any specific asset to a creditor listed on Schedule D of
      any Debtor. Moreover, although the Debtors may have scheduled claims of various
      creditors as secured claims, the Debtors reserve all rights to dispute or challenge
      the secured nature of any such creditor’s claim or the characterization of the
      structure of any such transaction or any document or instrument (including, without
      limitation, any intercreditor agreement) related to such creditor’s claim. In certain
      instances, a Debtor may be a co-obligor or guarantor with respect to scheduled
      claims of the other Debtors, and no claim set forth on Schedule D of any Debtor is
      intended to acknowledge claims of creditors that are otherwise satisfied or
      discharged by other entities. The descriptions provided in Schedule D are intended
      only to be a summary. Reference to the applicable loan agreements and related
      documents is necessary for a complete description of the collateral and the nature,
      extent and priority of any liens. Nothing in these Notes or the Schedules and
      Statements shall be deemed a modification or interpretation of the terms of such
      agreements.

43.   Schedule E/F.

      a)     The claims of individual creditors for, among other things, goods, products,
             services or taxes are listed as the amounts entered on the Debtors’ books
             and records and may not reflect credits, allowances, or other adjustments
             due from such creditors to the Debtors. The Debtors reserve all of their
             rights with regard to such credits, allowances, and other adjustments,
             including the right to assert claims objections and/or setoffs with respect to
             the same.

      b)     The Debtors’ prepetition tax obligations are more fully described in the
             Motion for Order Authorizing (I) Debtors to Pay Certain Taxes and Fees
             and (II) Financial Institutions to Honor Related Payment Requests [D.I.
             267] (the “Taxes Motion”). Pursuant to the order granting the Taxes
             Motion, the Debtors were authorized to pay various prepetition taxes,
             regulatory fees and assessments, and related obligations that were payable
             to numerous taxing authorities. To the extent such obligations have been
             paid in the postpetition period pursuant to the order, the Debtors have made
             efforts to exclude the related obligations from the Schedules. The Debtors
             reserve all rights to further amend the Schedules or deem claims satisfied
             should it later be determined that any such paid prepetition obligation has
             been inadvertently reported in the Schedules.

      c)     The Debtors have included various governmental agencies on Schedule E/F
             (Part 1) out of an abundance of caution whose obligations may not be
             “taxes” pursuant to the applicable law. The Debtors reserve all rights to
             dispute or challenge that these claims are not taxes and are not subject to
             priority under the Bankruptcy Code.
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d)    The Debtors’ outstanding prepetition wage obligations are more fully
      described in the Motion for Order (I) Authorizing the Debtors to Pay
      Certain Prepetition Wages and Compensation and Maintain and Continue
      Employee Benefit Programs and (II) Authorizing and Directing Banks to
      Honor and Process Checks and Transfers Related to Such Employee
      Obligations [D.I. 59] (the “Wages Motion”). Pursuant to the orders
      granting the Wages Motion, the Debtors were authorized to pay certain
      prepetition obligations to their employees or other related third-party
      recipients, remit employee 401(k) contributions, and pay or cause to be paid
      all withheld employee taxes and Social Security and Medicare taxes. To
      the extent such obligations have been paid in the postpetition period
      pursuant to these orders, the Debtors have made efforts to exclude the
      related obligations from the Schedules. The Debtors reserve all rights to
      further amend the Schedules or deem claims satisfied should it later be
      determined that any such paid prepetition obligation has been inadvertently
      reported in the Schedules.

e)    The Debtors’ outstanding prepetition critical vendor, foreign vendor,
      503(b)(9) claims and lien claims are more fully described in the Motion of
      Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors
      to Pay Certain Prepetition Claims of Critical Vendors, Foreign Vendors,
      503(B)(9) Claimants and Lien Claimants, (II) Granting Administrative
      Expense Priority to all Undisputed Obligations on Account of Outstanding
      Orders, (III) Authorizing all Financial Institutions to Honor all Related
      Payment Requests and (IV) Granting Certain Related Relief [D.I. 46] (the
      “Critical Vendors Motion”). Pursuant to the orders granting the Critical
      Vendors Motion, the Debtors were authorized to pay prepetition obligations
      to certain vendors. To the extent such obligations have been paid in the
      postpetition period pursuant to these orders, the Debtors have made
      reasonable efforts to exclude the related obligations from the Schedules.
      The Debtors reserve all rights to further amend the Schedules or deem
      claims satisfied should it later be determined that any such paid prepetition
      obligation has been inadvertently reported in the Schedules.

f)    The liabilities identified in Schedule E/F (Part 2) are derived from the
      Debtors’ books and records. The Debtors made a reasonable attempt to set
      forth their unsecured obligations, although the amount of claims against the
      Debtors may vary from those liabilities represented on Schedule E/F (Part
      2). The listed liabilities may not reflect the correct amount of any unsecured
      creditor’s allowed claims or the correct amount of all unsecured claims.
      Certain creditors listed on Schedule E/F may owe amounts to the Debtors
      and, as such, the Debtors may have valid setoff or recoupment rights with
      respect to such amounts, including on account of outstanding
      cryptocurrency or other loans. The amounts listed on Schedule E/F do not
      reflect any such right of setoff or recoupment and the Debtors reserve all
      rights to assert any such setoff or recoupment rights.
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      g)     The Debtors have made reasonable attempts to identify legal actions,
             administrative proceedings, court actions, executions, attachments or
             governmental audits including the review of available books and records,
             conducting lien searches, conducting searches of court and judicial records
             in relevant jurisdictions, and otherwise reviewing publicly available
             information. Despite the efforts conducted to identify all such actions, it is
             likely that there are other ending actions not yet identified or reported
             herein. The Debtors reserve all rights to revise, amend, supplement and/or
             adjust Schedule E/F in this regard. Additionally, certain lawsuits alleging
             prepetition conduct have been filed after the Petition Date. Such lawsuits
             are likely in violation of the automatic stay pursuant to section 362 of the
             Bankruptcy and are not included in the Debtor’ responses. Schedule E/F
             does not include threatened litigation involving the Debtors.

44.   Schedule G. Although the Debtors have undertaken significant efforts to identify
      all of the Debtors’ contracts, agreements, and leases, it is possible and even likely
      that there may be unidentified items not reported on Schedule G. Additionally, the
      contracts, agreements, and leases listed on Schedule G may have expired, may have
      been rejected or mutually terminated after the Petition Date, or may have been
      modified, amended, or supplemented from time to time by various amendments,
      restatements, waivers, estoppel certificates, letters, memoranda, and other
      documents, instruments, and agreements that may not be listed therein despite the
      Debtors’ use of reasonable efforts to identify such documents. Further, unless
      otherwise specified on Schedule G, it is the Debtors’ intent that each executory
      contract or unexpired lease listed thereon shall include all exhibits, schedules,
      riders, modifications, declarations, amendments, supplements, attachments,
      restatements or other agreements made directly or indirectly by any agreement,
      instrument, or other document that in any manner affects such executory contract
      or unexpired lease, without respect to whether such agreement, instrument, or other
      document is listed thereon.

      Certain confidentiality, non-disclosure, and non-compete agreements may not be
      listed on Schedule G.

      Certain of the contracts and agreements listed on Schedule G may consist of several
      parts, including purchase orders, amendments, restatements, waivers, letters and
      other documents that may not be listed on Schedule G or that may be listed as a
      single entry. The Debtors expressly reserve their rights to challenge whether such
      related materials constitute an executory contract, a single contract or agreement,
      or multiple, severable or separate contracts.

      Although the Debtors made diligent efforts to attribute an executory contract to its
      rightful Debtor, in certain instances, contracts do not specify a particular Debtor or
      include an incorrect legal entity as to the contractual counterparty and therefore the
      Debtors may have inadvertently failed to do so. Accordingly, the Debtors reserve
      all of their rights with respect to the named parties of any and all executory
      contracts, including the right to amend Schedule G. Additionally, contracts listed
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      in the Schedules and Statements may be umbrella or master agreements that cover
      relationships with some or all of the Debtors. Where relevant, such agreements
      have been listed in Schedule G only of the Debtor that signed the original umbrella
      or master agreement.

      Certain of the leases and contracts listed on Schedule G may contain renewal
      options, guarantees of payment, indemnifications, options to purchase, rights of
      first refusal or other miscellaneous rights. Such rights, powers, duties, and
      obligations are not set forth separately on Schedule G or Schedule F.

      In addition, the Debtors may have entered into various other types of agreements
      in the ordinary course of their business, such as subordination, non-disturbance,
      and attornment agreements, supplemental agreements, settlement agreements,
      amendments/letter agreements, title agreements, and confidentiality agreements.
      Such documents may not be set forth on Schedule G. Certain of the executory
      agreements may not have been memorialized and could be subject to dispute.
      Executory agreements that are oral in nature, if any, have not been included on the
      Schedule G.

      The Debtors reserve all rights to dispute or challenge the characterization of any
      transaction or any document or instrument related to a creditor’s claim. The listing
      of any contract on Schedule G does not constitute an admission by the Debtors as
      to the validity of any such contract. The Debtors reserve the right to dispute the
      effectiveness of any such contract listed on Schedule G or to amend Schedule G at
      any time to remove any contract. Omission of a contract or agreement from
      Schedule G does not constitute an admission that such omitted contract or
      agreement is not an executory contract or unexpired lease. The Debtors’ rights
      under the Bankruptcy Code with respect to any such omitted contracts or
      agreements are not impaired by the omission.

      Schedule G also does not include any agreements or contracts relating to any past
      acquisitions, mergers or transfers of entities by, to or between the Debtors. For the
      avoidance of doubt, the Debtors reserve all rights with respect to the
      characterization of any such agreements or contracts. The Debtors reserve the right
      to revise, amend, supplement and/or adjust Schedule G.

          Specific Notes with Respect to the Debtors’ Statements

45.   Statement 1 and 2 - Income. Revenue reported is based solely upon historical
      income statements prepared by the Debtors’ employees and the Outsourcers. This
      may include intercompany revenue. These historical incomes have not been
      verified by the Debtors or their Advisors. Based on a review of available historical
      records and discussions with available FTX resources, unless otherwise indicated,
      the Debtors have not identified any income responsive to Statement Question 2.
      All identified income is reported in response to Statement Question 1.
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46.   Statement 3 – Certain Payments or Transfers to Creditors within 90 Days
      before Filing this Case. Any payments made to the Debtors’ bankruptcy
      professionals, charitable organizations and/or insiders within the 90 days prior to
      the Petition Date are disclosed in responses to SOFA 11, SOFA 9 and SOFA 4,
      respectively, and therefore are not listed in response to SOFA 3. Additionally, as
      provided for in the SOFA instructions, wage and compensation payments and
      related withholding and employer tax payments made to the Debtors’ non-insider
      employees in the ordinary course of business are not listed herein. SOFA 3 only
      includes transfer made in cash and does not include transfers of cryptocurrency or
      other digital assets.

47.   Statement 4 – Payments or Other Transfers of Property made within 1 Year
      before Filing this Case that Benefited any Insider. The Debtors have disclosed
      all known payments to insiders identified to date and have made reasonable efforts
      to make such identifications, but ongoing efforts to make such identifications
      continue and the Debtors expect that such efforts may identify additional transfers
      not reported at this time. Additionally, the reported payments do not reflect any
      prior or subsequent transfers from such insiders to the Debtors. The Debtors
      reserve all rights to revise, amend, supplement and/or adjust SOFA 4 to reflect
      transfers subsequently identified, and the failure to include any such transfer shall
      not be deemed a waiver of any claims, causes of actions, preference or avoidance
      actions or in any way prejudice or impair the assertion of any claims in this respect.

48.   Statement 6 - Setoffs. See paragraph 20 for Setoffs.

49.   Statement 7 – Legal Actions. The Debtors have made reasonable attempts to
      identify legal actions, administrative proceedings, court actions, executions,
      attachments or governmental audits including the review of available books and
      records, conducting lien searches, conducting searches of court and judicial records
      in relevant jurisdictions, and otherwise reviewing publicly available information.
      Despite the efforts conducted to identify all such actions, it is likely that there are
      other ending actions not yet identified or reported herein. The Debtors reserve all
      rights to revise, amend, supplement and/or adjust SOFA 7 in this regard.
      Additionally, certain lawsuits alleging prepetition conduct have been filed after the
      Petition Date. Such lawsuits are likely in violation of the automatic stay pursuant
      to section 362 of the Bankruptcy Code and, in any event, are not responsive to
      Statement Question 7 and, as such, are not included in the Debtor’ responses.
      SOFA 7 does not include threatened litigation involving the Debtors.

50.   Statement 9 – Gifts and Charitable Contributions. Donations are currently
      reported as indicated and supported in the Debtors’ books and records. Efforts are
      ongoing to review the Debtors’ books and records to (1) confirm that payments and
      transfers denoted as gifts or donations qualify as such and (2) identify additional
      payments or transfers not currently identified as gifts or donations that qualify as
      such. Certain Debtors made donations on behalf of themselves and other Debtors.
      The Debtors’ research regarding donations made by one Debtor on behalf of
      another is not yet complete and as such these donations are not included in the
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      amounts reported in response to Statement Question 9. The Debtors’ investigation
      into cryptocurrency and other non-cash donations is also ongoing.

51.   Statement 11 – Payments related to Bankruptcy. The Debtors have listed
      payments to professionals retained pursuant to section 327(a) of the Bankruptcy
      Code and related to these Chapter 11 Cases. Additional information regarding the
      Debtors’ retention of professional services firms is more fully described in the
      individual retention applications, declarations, and/or related orders. Although the
      Debtors have made reasonable efforts to distinguish between payments made for
      professional services related and unrelated to their restructuring efforts, some
      amounts listed in response to Statement 11 may include amounts for professional
      services unrelated to bankruptcy.

52.   Statement 14 – Previous Locations. The Debtors have made extensive attempts
      to review available documentation and to query available Debtor resources in an
      effort to identify all previous addresses and locations utilized by the Debtors
      (including registered addresses where identified). However, through these efforts,
      it has been determined that the Debtors operated out of many decentralized office
      locations and there is no known database tracking such information on a global
      basis. Therefore, it is likely that there may be other addresses and locations
      previously utilized by the Debtors that may not be listed herein.

53.   Statement 16 – Personally Identifiable Information of Customers. See
      paragraph 26 for Confidential, Sensitive or Personally Identifiable Information.

54.   Statement 17 – Employee Pension or Profit-Sharing Plans. The Debtors and
      their Advisors have researched and reviewed payroll and plan contribution
      activities across all known Debtor entities, but due to the decentralized nature of
      the Debtors books and records, it is possible that this information is incomplete.

55.   Statement 18 – Closed Financial Accounts. The Debtors have listed all known
      closed financial accounts that they have been identified through the course of their
      efforts to identify and secure the Debtors’ assets to date. However, due to the large
      number of accounts, the lack of a centralized prepetition cash management system
      and the large number of business acquisitions by the Debtors in recent years, it is
      possible that the list provided herein may be incomplete.

56.   Statement 20 – Off-Premises Storage. The Debtors have listed all known off-
      premises storage locations that it has identified through the course of its efforts to
      identify and secure the Debtors’ assets to date. However, due to the lack of a
      centralized property management system and the large number of decentralized
      offices maintained by the Debtors in recent years, it is possible that the list provided
      herein may be incomplete.

57.   Statement 21 – Property Held for Another. The Debtors take the position that,
      consistent with the applicable terms of use between the Debtors and their account
      holders, certain cryptocurrency held on the Debtors’ platform is property of the
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      Debtors’ estate pursuant to section 541 of the Bankruptcy Code. Conversely, the
      Debtors take the position that, consistent with the applicable terms of use, certain
      other cryptocurrency held on the Debtors’ platform is not property of the Debtors’
      estate pursuant to section 541 of the Bankruptcy Code.

58.   Statement 25 – Other Businesses in which the Debtor has or has had an
      Interest. In addition to business interests listed in Statement 25, the Debtors also
      have or had interests in various token investments for publicly traded tokens and
      pre-ICO (Initial Coin Offering) tokens. These have been excluded from Statement
      25.

59.   Statement 26 – Books, Records and Financial Statements. The Debtors relied
      heavily on contractors and Outsourcers to maintain their books and records. There
      was no centralized financial accounting system or document repository for the
      books and records. Many records were found to be stored in numerous individual
      e-mail accounts and related cloud-based storage drives. The Debtors and their
      Advisors have undertaken significant efforts after the Petition Dates to locate all
      available books and records and to identify centrally located copies of all of the
      historical books and records. The Debtors have disclosed all known responsive
      information in the Statement, but it is likely that this information may be
      incomplete.

60.   Statements 28 and 29 – Officers, Directors, Managing Members, General
      Partners, Members in Control, Controlling Shareholders/ Prior Officers,
      Directors, Managing Members, General Partners, Members in Control,
      Controlling Shareholders. The Debtors and their Advisors relied on available
      corporate documents and books and records to determine officer, director,
      managing member, general partner, member and controlling shareholder statuses.
      While reasonable efforts have been made to provide accurate and complete
      information, inadvertent errors and omissions may exist and the Debtors reserve all
      rights to revise, amend, supplement and/or adjust the Schedules and Statements.

      Officer and Directors reported in response to Statement 28 are as of the Petition
      Date and do not reflect any changes made postpetition.

61.   Statement 30 – Payments, Distributions, or Withdrawals Credited or Given to
      Insiders. See paragraph 47 – Statement 4 – Payments or Other Transfers of
      Property made within 1 Year before Filing this Case that Benefited any Insider.

62.   Statement 31 – Consolidated Groups for Tax Purposes. The Debtors have
      disclosed the consolidated group for U.S. Federal, state and local income tax
      purposes only, and are not currently aware of any consolidated filings outside of
      the U.S. These Schedules and Statements were compiled based on information
      made available to the Debtors and their Advisors at the time of this filing. The
      Debtors and their advisors continue to review the underlying filing positions to
      confirm accuracy, and reserve the right to revise, amend, supplement and/or
      adjust the Schedules and Statements.
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63.   Statement 32 – Contributions to a Pension Fund. The Debtors and their
      Advisors have researched and reviewed payroll and plan contribution activities
      across all known Debtor entities, but due to the decentralized nature of the Debtors’
      books and records it is possible that this information is incomplete. The Debtors
      contributions to pension plans is also addressed on Statement Question 17.
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    Fill in this information to identify the case:

    Debtor name Quoine India Pte Ltd


    United States Bankruptcy Court for the:   District of Delaware

    Case number (If known) 22-11091 (JTD)


                                                                                                                                    ¨ Check if this is an
                                                                                                                                        amended filing


 Official Form 207
 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                             04/22
 The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
 name and case number (if known).

 Part 1:    Income

 1. Gross revenue from business

    þ None
                                                                                                                             Gross revenue
           Identify the beginning and ending dates of the debtor’s fiscal                Sources of revenue
                                                                                                                             (before deductions and
           year, which may be a calendar year                                            Check all that apply
                                                                                                                             exclusions)

           From the beginning of                                                         ¨ Operating a business
           the fiscal year to                   From                 to
                                                                                         ¨ Other                               $
           filing date:                                 MM/DD/YYYY

           For prior year:                      From                 to                  ¨ Operating a business
                                                        MM/DD/YYYY        MM/DD/YYYY     ¨ Other                               $

           For the year before that:            From                 to                  ¨ Operating a business
                                                        MM/DD/YYYY        MM/DD/YYYY     ¨ Other                               $




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    þ None

                                                                                                                             Gross revenue from
                                                                                         Description of sources of           each source
                                                                                         revenue                             (before deductions and
                                                                                                                             exclusions)

           From the beginning of
           the fiscal year to                   From                 to                                                        $
           filing date:                                 MM/DD/YYYY

           For prior year:                      From                 to                                                        $
                                                        MM/DD/YYYY        MM/DD/YYYY

           For the year before that:            From                 to                                                        $
                                                        MM/DD/YYYY        MM/DD/YYYY




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Debtor      Quoine India Pte Ltd                                                                                    Case number (If known)     22-11091 (JTD)
            Name



 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers including expense reimbursements to any creditor, other than regular employee compensation, within 90
     days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7, 575. (This amount may be adjusted
     on 4/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     þ None
             Creditor’s name and address                                    Dates           Total amount or value         Reasons for payment or transfer
                                                                                                                          Check all that apply

     3.1
           ____________________________________________________________
                                                                                            $                              ¨ Secured debt
           ____________________________________________________________                                                    ¨ Unsecured loan repayments
           Street
           ____________________________________________________________
                                                                                                                           ¨ Suppliers or vendors
           ____________________________________________________________
           City                      State               Zip Code                                                          ¨ Services
                                                                                                                           ¨ Other

     3.2
           ____________________________________________________________
                                                                                            $                              ¨ Secured debt
           ____________________________________________________________                                                    ¨ Unsecured loan repayments
           Street
           ____________________________________________________________
                                                                                                                           ¨ Suppliers or vendors
           ____________________________________________________________
           City                      State               Zip Code                                                          ¨ Services
                                                                                                                           ¨ Other

  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7, 575. (This amount may be adjusted on 4/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
     Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
     general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
     the debtor. 11 U.S.C. § 101(31).

     þ None
             Insider’s name and address                                   Dates        Total amount or value           Reasons for payment or transfer


     4.1                                                                                $                             _______________________________________________________
           _______________________________________________________

           _______________________________________________________                                                    _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




             Relationship to debtor




     4.2                                                                                $
           _______________________________________________________                                                    _______________________________________________________

           _______________________________________________________                                                    _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




             Relationship to debtor




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Debtor      Quoine India Pte Ltd                                                                                                        Case number (If known)       22-11091 (JTD)
            Name




  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

     þ None
             Creditor’s name and address                                  Description of the property                                           Date                       Value of property
     5.1   ____________________________________________________________   _______________________________________________________                                          $
           ____________________________________________________________   _______________________________________________________
           Street
           ____________________________________________________________

           ____________________________________________________________
           City                      State               Zip Code




     5.2   ____________________________________________________________   _______________________________________________________                                          $
           ____________________________________________________________   _______________________________________________________
           Street
           ____________________________________________________________

           ____________________________________________________________
           City                      State               Zip Code




  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.

     þ None
             Creditor’s name and address                                  Description of the action creditor took                               Date action was            Amount
                                                                                                                                                taken

         ____________________________________________________________     _______________________________________________________
                                                                                                                                                                           $
         ____________________________________________________________     _______________________________________________________
         Street
         ____________________________________________________________

         ____________________________________________________________
         City                      State               Zip Code


                                                                          Last 4 digits of account number: XXXX -


 Part 3:              Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity-within 1 year before filing this case.
     þ None
             Case title                                    Nature of case                                  Court or agency’s name and address                                  Status of case
     7.1 ____________________________ ____________________________                                       _______________________________________________________________   ¨ Pending
                                                                                                         _______________________________________________________________
                                                                                                         Street
                                                                                                                                                                           ¨ On appeal
             Case number
                                                                                                         _______________________________________________________________
                                                                                                         City                      State               Zip Code            ¨ Concluded




             Case title                                    Nature of case                                  Court or agency’s name and address                                  Status of case
     7.2 ____________________________ ____________________________                                                                                                         ¨ Pending
                                                                                                         _______________________________________________________________

                                                                                                         _______________________________________________________________
                                                                                                         Street
                                                                                                                                                                           ¨ On appeal
                                                                                                         _______________________________________________________________
             Case number                                                                                 City                      State               Zip Code            ¨ Concluded




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Debtor    Quoine India Pte Ltd                                                                                                        Case number (If known)     22-11091 (JTD)
          Name



  8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

    þ None
            Custodian’s name and address                                     Description of the property                                     Value

          _______________________________________________________________                                                                     $
          _______________________________________________________________
          Street                                                             Case title                                                      Court name and address
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code

                                                                             Case number



                                                                             Date of order or assignment



 Part 4: Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
     value of the gifts to that recipient is less than $1,000

    þ None
            Recipient’s name and address                                     Description of the gifts or contributions                            Dates given            Value

    9.1
          _______________________________________________________________   _______________________________________________________
                                                                                                                                                                        $
          _______________________________________________________________   _______________________________________________________
          Street
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code




            Recipient’s relationship to debtor



   9.2    _______________________________________________________________   _______________________________________________________                                     $
          _______________________________________________________________   _______________________________________________________
          Street
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code




            Recipient’s relationship to debtor




 Part 5:         Certain Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case.
    þ None
           Description of the property lost and                              Amount of payments received for the loss                             Date of loss           Value of property
           how the loss occurred                                            If you have received payments to cover the loss, for                                         lost
                                                                            example, from insurance, government compensation,
                                                                            or tort liability, list the total received.
                                                                            List unpaid claims on Official Form 106A/B
                                                                            (Schedule A/B: Assets - Real and Personal Property).


          _______________________________________________________           _______________________________________________________                                     $
          _______________________________________________________




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Debtor     Quoine India Pte Ltd                                                                                                        Case number (If known)   22-11091 (JTD)
           Name



 Part 6:              Certain Payments or Transfers

  11. Payments related to bankruptcy
      List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
      the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
      seeking bankruptcy relief, or filing a bankruptcy case.
    ¨ None Disbursements were made by and reported in response to SOFA Q#11 for West Realm Shires, Inc. and FTX Trading Ltd.
            Who was paid or who received the                                 If not money, describe any property                                 Dates                  Total amount or
            transfer?                                                        transferred                                                                                value
    11.1                                                                     _______________________________________________________                                   $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Email or website address



            Who made the payment, if not debtor?



            Who was paid or who received the                                 If not money, describe any property                                 Dates                  Total amount or
            transfer?                                                        transferred                                                                                value
    11.2
                                                                             _______________________________________________________
                                                                                                                                                                       $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




             Email or website address



            Who made the payment, if not debtor?



  12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of
         this case to a self-settled trust or similar device.
         Do not include transfers already listed on this statement.
   þ None
            Name of trust or device                                          Describe any property transferred                                   Dates transfers        Total amount or
                                                                                                                                                 were made              value


                                                                             _______________________________________________________
                                                                                                                                                                       $
                                                                             _______________________________________________________


             Trustee




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Debtor     Quoine India Pte Ltd                                                                                                          Case number (If known)   22-11091 (JTD)
           Name



  13. Transfers not already listed on this statement
      List any transfers of money or other property-by sale, trade, or any other means-made by the debtor or a person acting on behalf of the debtor within 2
      years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
      outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


    þ None
            Who received transfer?                                            Description of property transferred or                                Date transfer         Total amount or
                                                                              payments received or debts paid in exchange                           was made              value
    13.1
                                                                             _______________________________________________________
                                                                                                                                                                          $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Relationship to debtor




            Who received transfer?                                            Description of property transferred or                                Date transfer         Total amount or
                                                                              payments received or debts paid in exchange                           was made              value
    13.2                                                                     _______________________________________________________
                                                                                                                                                                          $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Relationship to debtor



 Part 7:        Previous Locations

  14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

    þ Does not apply
            Address                                                                                                                          Dates of Occupancy

    14.1 _______________________________________________________________________________________________________________________________ From                             To
           Street
           _______________________________________________________________________________________________________________________________

           _______________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code



    14.2 _______________________________________________________________________________________________________________________________ From                             To
           Street
           _______________________________________________________________________________________________________________________________

           _______________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code




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Debtor     Quoine India Pte Ltd                                                                                                     Case number (If known)     22-11091 (JTD)
           Name



 Part 8:        Health Care Bankruptcies

  15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          - diagnosing or treating injury, deformity, or disease, or
          - providing any surgical, psychiatric, drug treatment, or obstetric care?

    þ No. Go to Part 9.
    ¨ Yes. Fill in the information below.
            Facility name and address                                Nature of the business operation, including type of                                     If debtor provides meals
                                                                     services the debtor provides                                                            and housing, number of
                                                                                                                                                             patients in debtor’s care
    15.1
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code          Location where patient records are maintained                                           How are records kept?
                                                                     (if different from facility address). If electronic, identify any
                                                                     service provider.

                                                                     _______________________________________________________
                                                                                                                                                             Check all that apply:
                                                                     _______________________________________________________                             ¨ Electronically
                                                                                                                                                         ¨ Paper

            Facility name and address                                Nature of the business operation, including type of                                     If debtor provides meals
                                                                     services the debtor provides                                                            and housing, number of
                                                                                                                                                             patients in debtor’s care
    15.2
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code          Location where patient records are maintained                                           How are records kept?
                                                                     (if different from facility address). If electronic, identify any
                                                                     service provider.
                                                                                                                                                             Check all that apply:
                                                                     _______________________________________________________

                                                                     _______________________________________________________                             ¨ Electronically
                                                                                                                                                         ¨ Paper
 Part 9:          Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

    þ No.
    ¨ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ¨ No
                  ¨ Yes
  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403( b), or other
      pension or profit-sharing plan made available by the debtor as an employee benefit?

    þ No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                  ¨ No. Go to Part 10.
                  ¨ Yes. Fill in below
                        Name of plan                                                                                           Employer identification number of the plan
                                                                                                                      EIN:

                      Has the plan been terminated?
                      ¨ No
                      ¨ Yes

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Debtor     Quoine India Pte Ltd                                                                                                       Case number (If known)      22-11091 (JTD)
           Name



 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
         old, moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

    þ None
            Financial institution name and address                     Last 4 digits of              Type of account                    Date account was                   Last balance
                                                                       account number                                                   closed, sold, moved,               before closing or
                                                                                                                                        or transferred                     transfer
    18.1                                                             XXXX-                         ¨     Checking                                                         $
           _______________________________________________________
                                                                                                   ¨     Savings
           _______________________________________________________
           Street
           _______________________________________________________                                 ¨     Money Market
           _______________________________________________________                                 ¨     Brokerage
           City                      State         Zip Code
                                                                                                   ¨     Other

    18.2                                                             XXXX-                         ¨     Checking                                                         $
           _______________________________________________________
                                                                                                   ¨     Savings
           _______________________________________________________
           Street
           _______________________________________________________                                 ¨     Money Market
           _______________________________________________________                                 ¨     Brokerage
           City                      State         Zip Code
                                                                                                   ¨     Other


  19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

    þ None
            Depository institution name and                           Names of anyone with access to it                      Description of the contents                           Does debtor
            address                                                                                                                                                                still have it?

           _______________________________________________________   ____________________________________________________   ____________________________________________________
                                                                                                                                                                                   ¨ No
           _______________________________________________________   ____________________________________________________   ____________________________________________________   ¨ Yes
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code

                                                                      Address


                                                                     ____________________________________________________

                                                                     ____________________________________________________



  20. Off-premises storage

         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building
         in which the debtor does business.

    þ None
            Facility name and address                                 Names of anyone with access to it                      Description of the contents                           Does debtor
                                                                                                                                                                                   still have it?

           _______________________________________________________   ____________________________________________________   ____________________________________________________   ¨ No
           _______________________________________________________
           Street
                                                                     ____________________________________________________   ____________________________________________________   ¨ Yes
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code

                                                                      Address

                                                                     ____________________________________________________

                                                                     ____________________________________________________




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Debtor     Quoine India Pte Ltd                                                                                                          Case number (If known)       22-11091 (JTD)
           Name



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

  21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

    þ None
            Owner’s name and address                                 Location of the property                                  Description of the property                     Value

                                                                                                                                                                              $
           _______________________________________________________   ____________________________________________________   _______________________________________________

           _______________________________________________________   ____________________________________________________   _______________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




 Part 12: Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).

         Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.

         Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.


  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law ? Include settlements and orders.

    þ No
    ¨ Yes. Provide details below.
            Case title                                                 Court or agency name and address                           Nature of the case                               Status of case

                                                                     _______________________________________________________     _______________________________________________   ¨ Pending
                                                                     _______________________________________________________
                                                                     Street
                                                                                                                                 _______________________________________________   ¨ On appeal
            Case Number                                              _______________________________________________________
                                                                                                                                                                                   ¨ Concluded
                                                                     _______________________________________________________
                                                                     City                      State         Zip Code




  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
      environmental law?

    þ No
    ¨ Yes. Provide details below.
            Site name and address                                      Governmental unit name and address                         Environmental law, if known                      Date of notice

           _______________________________________________________   _______________________________________________________     _______________________________________________

           _______________________________________________________   _______________________________________________________     _______________________________________________
           Street                                                    Street
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           City                      State         Zip Code          City                      State         Zip Code




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Debtor     Quoine India Pte Ltd                                                                                                       Case number (If known)      22-11091 (JTD)
           Name




  24. Has the debtor notified any governmental unit of any release of hazardous material?
    þ No
    ¨ Yes. Provide details below.
            Site name and address                                    Governmental unit name and address                        Environmental law, if known                      Date of notice

           _______________________________________________________   _______________________________________________________ ________________________________________________

           _______________________________________________________   _______________________________________________________ ________________________________________________
           Street                                                    Street
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           City                      State         Zip Code          City                      State         Zip Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

    þ None
            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.1 _______________________________________________________     ____________________________________________________              EIN:
           _______________________________________________________   ____________________________________________________
           Street
           _______________________________________________________
                                                                                                                                       Dates business existed
           _______________________________________________________
           City                      State         Zip Code                                                                            From                               To




            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.2                                                                                                                               EIN:
           _______________________________________________________   ____________________________________________________

           _______________________________________________________   ____________________________________________________              Dates business existed
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code
                                                                                                                                       From                               To




            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.3                                                                                                                               EIN:
           _______________________________________________________   ____________________________________________________

           _______________________________________________________   ____________________________________________________
           Street                                                                                                                      Dates business existed
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code                                                                            From                               To




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Debtor     Quoine India Pte Ltd                                                                                Case number (If known)   22-11091 (JTD)
           Name




  26. Books, records, and financial statements
         26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

           ¨ None
            Name and address                                                                                    Dates of service


  26a.1 FCG Fair Consulting Group                                                                               From 11/11/2020               To 11/11/2022
           Unit No.138, 139 & 140
           1st Floor, JMD Mega Polis
           Sector 48, Sohna Road, Gurgaon
           Haryana, 122-002
           INDIA



            Name and address                                                                                    Dates of service


  26a.2                                                                                                         From                          To




         26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.

           ¨ None
                  Name and address                                                                              Dates of service


         26b.1 FCG Fair Consulting Group                                                                        From 11/11/2020               To 11/11/2022
                 Unit No.138, 139 & 140
                 1st Floor, JMD Mega Polis
                 Sector 48, Sohna Road, Gurgaon
                 Haryana, 122-002
                 INDIA



                  Name and address                                                                              Dates of service


         26b.2                                                                                                  From                          To




         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           ¨ None
                  Name and address                                                                              if any books of account and records are
                                                                                                                unavailable, explain why

         26c.1 FCG Fair Consulting Group                                                                       N/A
                 Unit No.138, 139 & 140
                 1st Floor, JMD Mega Polis
                 Sector 48, Sohna Road, Gurgaon
                 Haryana, 122-002
                 INDIA




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Debtor     Quoine India Pte Ltd                                                                                                          Case number (If known)   22-11091 (JTD)
           Name




                  Name and address                                                                                                           if any books of account and records are
                                                                                                                                             unavailable, explain why

         26c.2




         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.

           þ None
                  Name and address


         26d.1   _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 Street
                 _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 City                                          State                                                     Zip Code




                  Name and address


         26d.2   _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 Street
                 _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 City                                          State                                                     Zip Code




  27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?

         þ No
         ¨ Yes. Give the details about the two most recent inventories.

            Name of the person who supervised the taking of the inventory                                                Date of             The dollar amount and basis (cost,
                                                                                                                         inventory           market, or other basis) of each inventory

                                                                                                                                              $

            Name and address of the person who has possession of
            inventory records

   27.1    ___________________________________________________________________________________________________________

           ___________________________________________________________________________________________________________
           Street
           ___________________________________________________________________________________________________________

           ___________________________________________________________________________________________________________
           City                                          State                                        Zip Code




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Debtor     Quoine India Pte Ltd                                                                                                     Case number (If known)    22-11091 (JTD)
          Name




            Name of the person who supervised the taking of the inventory                                               Date of      The dollar amount and basis (cost,
                                                                                                                        inventory    market, or other basis) of each inventory

                                                                                                                                       $

            Name and address of the person who has possession of
            inventory records

   27.2
          ___________________________________________________________________________________________________________

          ___________________________________________________________________________________________________________
          Street
          ___________________________________________________________________________________________________________

          ___________________________________________________________________________________________________________
          City                                          State                                        Zip Code




  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders,
      or other people in control of the debtor at the time of the filing of this case.

            Name                                             Address                                                        Position and nature of any              % of interest, if any
                                                                                                                            interest

          See Attached Rider




  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
      members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    þ No
    ¨ Yes. Identify below.
            Name                                             Address                                                        Position and nature of           Period during which
                                                                                                                            any interest                     position or interest
                                                                                                                                                             was held
                                                                                                                                                             From                To

                                                                                                                                                             From                To

                                                                                                                                                             From                To

                                                                                                                                                             From                To


  30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?

    þ No
    ¨ Yes. Identify below.
            Name and address of recipient                                                            Amount of money or                    Dates                     Reason for
                                                                                                     description and value of                                        providing the value
                                                                                                     property
   30.1
                                                                                                                                                                    ____________________________

                                                                                                                                                                    ____________________________




            Relationship to debtor




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Debtor    Quoine India Pte Ltd                                                                                              Case number (If known)   22-11091 (JTD)
          Name




           Name and address of recipient                                                         Amount of money or              Dates                     Reason for
                                                                                                 description and value of                                  providing the value
                                                                                                 property
   30.2
          ____________________________________________________________________________________                                                           ____________________________

          ____________________________________________________________________________________                                                           ____________________________
          Street
          ____________________________________________________________________________________
          City                             State                           Zip Code




           Relationship to debtor



  31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

    þ No
    ¨ Yes. Identify below.
           Name of the parent corporation                                                                        Employer Identification number of the parent
                                                                                                                 corporation
                                                                                                                 EIN:


  32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund ?

    þ No
    ¨ Yes. Identify below.
           Name of the pension fund                                                                              Employer Identification number of the pension
                                                                                                                 fund
                                                                                                                 EIN:



 Part 14: Signature and Declaration


          WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
          connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
          18 U.S.C. §§ 152, 1341, 1519, and 3571.

          I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
          is true and correct.

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on         03/14/2023
                                MM / DD / YYYY



     X /s/ Mary Cilia                                                                             Printed name Mary Cilia

          Signature of individual signing on behalf of the debtor

          Position or relationship to debtor           Chief Financial Officer




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

    ¨ No
    þ Yes




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Debtor Name: Quoine India Pte Ltd                                                                                         Case Number: 22-11091 (JTD)

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

SOFA Question 28: List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
                                                    control of the debtor at the time of the filing of this case.


Name                                       Address                                                     Position                              % Interest


FTX JAPAN K.K.                             3 CHOME - 17 NISHIKICHO, KANDA, CHIYODA CITY                Sole Shareholder                                100%
                                           HIROSE BUILDING 4F
                                           TOKYO, 1010054 JAPAN
NAME ON FILE                               ADDRESS ON FILE                                             Director                                           N/A
Shuya Yamamoto                             ADDRESS ON FILE                                             Director                                           N/A




                                                                         Page 1 of 1
